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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JUDITH DRAKE                                     :          CIVIL ACTION
                                                 :
    v.                                           :          No. 17-3170
                                                 :
NATIONAL LIFE INSURANCE                          :
COMPANY, et al.                                  :

                                            ORDER

         AND NOW, this 16th day of February, 2018, upon consideration of Defendant National

Life Insurance Company’s Motion to Dismiss Plaintiff’s Amended Complaint, Plaintiff Judith

Drake’s opposition thereto, and Defendant’s reply, and following a January 26, 2018, oral

argument, it is ORDERED the Motion (Document 11) is GRANTED. Plaintiff’s Amended

Complaint is DISMISSED without prejudice. Plaintiff shall have until March 9, 2018, to file a

second amended complaint that corrects the deficiencies identified below.1




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  Plaintiff Judith Drake is the beneficiary of a life insurance policy issued by Defendant National
Life Insurance Company (National) to her late husband, Eric Drake, in 2006. Following her
husband’s death in August 2016, Mrs. Drake attempted to collect the policy’s $500,000 death
benefit, but National denied her claim, asserting the policy had lapsed on October 1, 2015, due to
her husband’s failure to pay the quarterly premium due on that date. Although National claims
to have sent three separate requests for payment of the October 1, 2015, premium to Mr.
Drake—on September 2, November 3, and December 2, 2015—Mrs. Drake alleges the notices
were never received at the Drake home, where she was the recipient of the household’s mail.
The Drakes also did not receive a cancellation notice National claims to have sent to Mr. Drake
on December 14, 2015. Steven Fishman, the Drakes’ insurance agent, likewise did not receive
the premium and cancellation notices, though copies of the notices were purportedly sent to him.
        Mrs. Drake brings this action for “Estoppel/Breach of Contract/Quasi-Contract” against
National and ten unnamed “John Doe” Defendants, alleging National’s cancellation of the policy
was improper because neither her husband (whose mail she received at their shared home) nor
Mr. Fishman received notice that premiums were due or delinquent or that the policy was going
to be cancelled for nonpayment. Mrs. Drake alleges that had such notices been received, she
would have cured the delinquency and prevented the policy from lapsing. National moves to
dismiss the Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6), arguing
Mrs. Drake has failed to state a claim for either breach of contract or promissory estoppel and
has not pleaded sufficient facts to invoke the doctrine of equitable estoppel.
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        To withstand a motion to dismiss pursuant to Rule 12(b)(6), “a complaint must contain
sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
570 (2007)). A claim is facially plausible when the facts pleaded “allow[] the court to draw the
reasonable inference that the defendant is liable for the misconduct alleged.” Id. In evaluating a
Rule 12(b)(6) motion, a court may consider “only the complaint, exhibits attached to the
complaint, matters of public record, [and] undisputedly authentic documents if the complainant’s
claims are based upon these documents.” Mayer v. Belichick, 605 F.3d 223, 230 (3d Cir. 2010).
The court must accept as true all factual allegations in the complaint, but may disregard any legal
conclusions. Id. at 229.
        Although Mrs. Drake’s legal theory is not entirely clear from her Amended Complaint,
her opposition to the motion to dismiss explains that her claim is based on case law holding that
a duty to provide premium notices to insureds may arise based on an insurer’s custom or practice
of providing such notices. See Pl.’s Opp’n 4-5 (citing Kaeppel v. Mut. Life Ins. Co. of N.Y., 78
F.2d 899 (3d Cir. 1935), and Geise v. Nationwide Life & Annuity Co. of Am., 939 A.2d 409 (Pa.
Super. Ct. 2007)). Under these cases, when an insurer has regularly and customarily given
notice to its insured that premiums are due, the insurer cannot “forfeit the policy for the
nonpayment of the premium and defend [an action to recover on the policy] on the ground that
the policy ha[s] lapsed” without first giving such notice to the insured (or advising the insured
that notice will no longer be given). See Kaeppel, 78 F.2d at 905; Geise, 939 A.2d at 422.
        Kaeppel, the first case on which Mrs. Drake relies, involved a suit by the beneficiary of a
life insurance policy to recover on the policy after the insured’s death. The policy at issue paid
an annual dividend that could, at the insured’s election, be used toward payment of the annual
premium. Just prior to the tenth anniversary of the policy, the insurer sent a letter to the insured,
notifying the insured of the due date of the premium and the applicable grace period, and
purporting to enclose both a premium notice and a dividend voucher reflecting the amount of the
dividend available for use toward the outstanding premium. The dividend voucher, however,
was not included in the mailing. The insured did not pay the premium and died six days after the
grace period had lapsed. When the insurer thereafter refused to pay under the policy, the
beneficiary brought suit, arguing the insurer had waived its right to lapse the policy until it had
informed the insured of the amount of the dividend. On appeal from a judgment in favor of the
insurer, the Third Circuit Court of Appeals sided with the beneficiary, holding that in the
circumstances presented, the insured had a right to notice of the dividend amount and until notice
was given, the insurer “could not forfeit the policy for the nonpayment of the premium and
defend on the ground that the policy had lapsed.” Kaeppel, 78 F.2d at 905. The Court of
Appeals concluded the insured was entitled to notice of the dividend amount for two independent
reasons. First, the Court held that because the insured had a right under the policy to apply
dividends toward the premium owed, he was entitled to notice of the amount of the dividend so
that he would know how much he was required to pay. See id. at 902-03. Second, the Court
held the insured had a right to notice of the dividend amount based on the insurer’s custom or
practice of giving such notice. See id. at 905.
        National argues Kaeppel is inapposite because it “concerns a duty to provide notice of
dividends paid where the amount of dividends would reduce or change the amount of premiums
due,” whereas this case involves a fixed premium (at least during the period when Mr. Drake
failed to pay it). See Def.’s Reply 5. This Court disagrees. While the notice at issue in Kaeppel
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was a dividend notice that impacted the premium owed, Kaeppel’s holding that a duty to provide
notice may arise based on an insurer’s custom or practice of giving notice has not been limited to
dividend notices or to variable premiums. In Geise, for example, the Pennsylvania Superior
Court held an insurer had an obligation to provide its insured with notice of the premium amount
due where the insurer had “customarily sent a notice of premium due each year since the
inception of the policy.” 939 A.2d at 420. Although the duty to provide notice of the premium
amount due also arose because the amount owed depended on variables exclusively within the
knowledge of the insurer, the Superior Court stressed that the right to notice could be predicated
on either factor—i.e., the nature of the policy or the insurer’s custom of providing premium
notices. See id. at 420 n.6. Other courts and commentators have also recognized that a duty to
send premium notices may exist based on the insurer’s longstanding practice of providing such
notices, regardless of whether notice is also required based on the variable nature of the premium
owed. See Carnathan v. Ohio Nat’l Life Ins. Co., No. 06-999, 2008 WL 2578919, at *3 (M.D.
Pa. June 26, 2008) (holding an insurer’s longstanding practice of providing its insured with
notice that his fixed annual premium was due and payable could give rise to a duty to provide
such notice); DeMann v. Ass’n Underwriters of Am., Inc., 13 Pa. D. & C. 3d 208, 214-15 (Pa. Ct.
Com. Pl. 1979) (“[W]hen an insurer establishes a practice of giving notice of premiums due so as
to lead the insured to believe that such notice will be given regularly, the insurer cannot declare a
forfeiture for nonpayment of premium if such nonpayment is attributable to the insurer’s failure
to provide the notice.” (citation omitted)); accord 5 Steven Plitt et al., Couch on Insurance
§ 71:7 (3d ed. Dec. 2017 update).
        National also argues Mrs. Drake has failed to state a plausible claim based on Kaeppel
and Geise because (1) the notice obligation recognized in those cases extends only to the insured,
not to the policy beneficiary or the insurance agent; (2) the exhibits to the Amended Complaint
establish that National in fact sent both premium and lapse notices to Mr. Drake; and (3) the
Amended Complaint fails to allege any facts suggesting that National had a longstanding
practice of sending premium or lapse notices such that the Drakes or Mr. Fishman would
reasonably believe notices would be given.
        While National is correct that Kaeppel and Geise address only an insurer’s duty to
provide premium notices to its insured, and not to a policy beneficiary or an insurance agent,
Mrs. Drake’s claim is based at least in part on National’s failure to send premium and lapse
notices to her husband, the insured, whose mail she received and processed. See Am. Compl.
¶¶ 12, 16. This claim, at least, is potentially cognizable under Kaeppel and Geise.
        As to National’s contention that Mrs. Drake’s claim is foreclosed because National sent
premium and lapse notices to Mr. Drake, this argument is premature. Although the exhibits to
the Amended Complaint include “fiche copies” of certain notices that National claims to have
sent to Mr. Drake, the Amended Complaint alleges these notices were never received in the
Drake household, where Mrs. Drake was “at all times material the recipient of the household’s
mail.” Am. Compl. ¶ 12. Whether Mr. Drake received the notices is thus a factual issue that
cannot be resolved at the motion to dismiss stage.
        Nevertheless, to state a plausible claim for relief based on Kaeppel and Geise, Mrs. Drake
must plead facts supporting the reasonable inference that National had a custom or practice of
giving notice of premiums due for such a length of time as to lead the insured to believe that
notice would be given. See Geise, 939 A.2d at 422; cf. Williams v. Gillott, No. 20111886, 2011
WL 10619020 (Pa. Ct. Com. Pl. Sept. 21, 2011) (holding a plaintiff failed to state a claim based
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                                                   BY THE COURT:



                                                      /s/ Juan R. Sánchez   .
                                                   Juan R. Sánchez, J.




on Kaeppel and Geise where the record was “completely devoid of any consistent practice [of
providing premium notices], or any specific reliance upon any such notification from [the
insurer]”), aff’d, 60 A.3d 843 (Pa. Super. Ct. 2012) (unpublished table disposition). While the
Amended Complaint recites that “Plaintiff (and Fishman) justifiably and reasonably relied on
receiving (for Eric Drake) notices of delinquency and cancellation,” Am. Compl. ¶ 16, it does
not allege that National had a custom of practice of sending such notices, which Mrs. Drake, as
recipient of the household mail, presumably would have received. Although this pleading
deficiency requires dismissal of the Amended Complaint, based on counsel’s representations at
oral argument, it appears Mrs. Drake may be able to correct the deficiency and state a plausible
claim for relief. Accordingly, the motion to dismiss is granted, but the Amended Complaint is
dismissed without prejudice to Mrs. Drake’s right to file a second amended complaint within the
time permitted above.
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